




















NO.
07-10-0489-CR

&nbsp;

IN THE
COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL D

&nbsp;

JULY 15, 2011

___________________________

&nbsp;

CARLOS
LAMONT FISHER, JR.,&nbsp; 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant


v.

&nbsp;

THE STATE OF
TEXAS,&nbsp; 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

___________________________

&nbsp;

FROM THE 223RD DISTRICT COURT OF GRAY COUNTY;

&nbsp;

NO. 7369; HONORABLE LEE WATERS, PRESIDING

___________________________

&nbsp;

Abatement and Remand

___________________________

&nbsp;

Before
QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
July 6, 2011, we granted the State’s agreed Motion to Correct the Reporter’s
Record and ordered the court reporter to file a supplemental record making the
changes approved.&nbsp; However, the court
reporter notified this court that he could not certify the record with the
agreed change since the event did not occur at trial and was not part of the
trial record.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
change requested by the State and agreed to by appellant concerns defendant’s
trial exhibit one, which is several forms filed under the Interstate Agreement
on Detainers Act (IADA).&nbsp; However,
according to the State’s motion, not all of the pages were attached to the
forms that were admitted at trial. 

&nbsp;Accordingly, we abate this cause back to the
trial court.&nbsp; Upon remand, it is directed
to determine whether the exhibits tendered by the parties and accepted into
evidence at trial are the ones actually included in the record developed by the
court reporter.&nbsp; Should it determine that
the exhibits of record accurately reflect those the parties intended to proffer
and it intended to receive, then the trial court shall so inform this court via
pertinent findings.&nbsp;
Should it determine that the exhibits received and included in the
reporter’s record differ from those the parties tendered and it intended to
accept, then the trial court shall specify, via pertinent findings, which
exhibits they may be and attach an accurate copy of them to its findings.&nbsp; The latter must then be included in a
supplemental record, which record must then be filed with the clerk of this
court on or before August 15, 2011.&nbsp;
Should further time be needed by the trial court to perform these tasks,
then same must be requested before August 15, 2011.

It is so
ordered.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

Per Curiam

Do not publish.

&nbsp;





